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Morrell, Benjamin S.

From:                              Fisher, Ian H.
Sent:                              Tuesday, May 23, 2023 7:43 PM
To:                                Megan O'Malley; Morrell, Benjamin S.; Alex Raynor
Subject:                           RE: Lynch v. CCC - amended privilege log


Megan,
I write in response to your voicemail of today and the email you sent shortly thereafter. First, I am happy to speak with
you by phone but, as I have mentioned, I am not always available for unscheduled calls. We can schedule a call to
discuss any issue that is on your mind; however, I think this email will address all of the issues you raised in both your
voicemail and email of today.

Joint Discovery Motion & Rule 37.2
We do not believe that Plaintiffs have complied with Judge Ellis’s standing order on discovery or with Local Rule 37.2
with respect to the issues raised in Plaintiffs’ portion of the draft joint motion. The parties have worked to narrow the
issues in dispute here, as evidenced by CCC producing an amended privilege log and Plaintiffs withdrawing their
challenge to a number of privilege log entries as a result. That meet-and-confer process has been ongoing. To demand
that we provide our portion of the joint brief 21 hours after you unilaterally decided that process is complete does not
comport with Judge Ellis’s reminder in her standing order that “compliance with Local Rule 37.2 requires a good faith
effort to resolve discovery disputes” (emphasis in original). We will prepare our portion of the brief and plan to do so on
Thursday. Engaging in an extensive email discussion about timing only takes us away from focusing on our portion of
the brief.

Additionally, we note that Plaintiffs’ portion of the brief is nearly double the length allowed by the standing order for a
motion containing both sides’ arguments. The length of Plaintiffs’ portion, thus, further contributes to our need for
more time than a single day to respond.

I admit that I was not previously aware Judge Ellis is not hearing motions during the month of June. But, we do not
understand your urgency regarding the issues raised in the draft joint motion. If the urgency arises from the request to
Judge Ellis in your draft motion for a ruling on the Court’s in camera review of the closed board meeting before the
deposition of Dr. Janosky schedule for June 12, we have no objection to your request for such a decision. You have our
permission to file that portion of the proposed motion and note at the end that defendant does not object.

If, on the other hand, the urgency relates to the emails over which defendant has claimed privilege, we note that of the
privilege log entries at issue in the proposed (Entries 95-98, 105, 107-110, 116, 123, and 183), Dr. Janosky was a
recipient of only one, Entry 116. While defendant continues to claim privilege over this email, we accidentally omitted
in the description column of the amended log that the email concerned a media inquiry “regarding elimination of VP of
Institutional Effectiveness position at Daley College” (omitted words underlined). Indeed, this type of issue is the very
reason we suggested on May 17 that an additional meet and confer should occur to the extent our May 19 amended
privilege did not resolve the open disputes. That aside, we represent to you that Entry 116 relates to the elimination of
the VP of Institutional Education; if you prefer, we can provide a corrected log with that revision. Please let us know if
this offer will remove Entry 116 from your proposed joint discovery motion.

As we previously stated, we can provide our portion of the brief on Thursday. That will allow you to timely notice the
motion for hearing on Wednesday, March 31 at Judge Ellis’ 9:45 a.m. motion call. As I had mentioned, I am not in town
next week—I will be traveling of my daughter’s graduations; I will not be available for the Tuesday hearing as I will be in
transit or the Thursday hearing as I will be sweating in a folding chair for her commencement. (She has a graduation
ceremony on Wednesday, but I anticipate the Court’s motion call will be completed before the ceremony begins.)


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Other Written Discovery Issues
We have received your request for native versions of the “EL Nov7.docx” and “ER 11.7.2019.docx” documents
(previously produced to Plaintiffs at bates numbers CCC_0003235 and CCC_0003240, respectively) “with all meta data
intact and with ability to load.” We do not as a matter of course provide native files for Word documents, in part
because when they are produced through Relativity we provide a full image and text, and the metadata is identical to
that of the native document. Thus, Plaintiffs already have versions of these documents that contain all available
metadata. Nevertheless, per your request, we will produce tomorrow the native versions of these previously produced
documents.

Regarding your request for the “EL Nov1.docx” document, we will produce that as well, both in imaged and native
format. The email enclosing that document has previously been produced to Plaintiffs as part of the email chains at
bates numbers CCC_0051136, CCC_0051138, CCC_0051140, CCC_0051177, CCC_0051180, CCC_0051232, CCC_0051234,
CCC_0051296, CCC_0051299, CCC_0053466, and CCC_0053467. Each of these documents also contains a reference to
the attached “EL Nov1.docx” document. Additionally, the “EL Nov7.docx” previously produced to Plaintiffs at bates
number CCC_0003235 is a different version of this same document. Unfortunately, the “EL Nov1.docx” version was not
previously produced to Plaintiffs. We will send it tomorrow.

As mentioned last week when we produced .pdf versions of redacted and unredacted documents over which CCC
withdrew or reduced previous assertions of privilege and/or work-product protection, we will produce through
Relativity imaged versions of these previously provided documents containing the full metadata. We will send those
documents tomorrow as well. Please use the Relativity versions with full metadata going forward and not the .pdf
versions.

Finally, we have determined that the “eeofficer,” “compensation,” and “laborrelations” email addresses were not
listservs as we initially believed; rather, they are email addresses to which multiple people had access. We expect to
learn the identities of the individuals at CCC who had access to each address in the next few days and will share this
information with you.

Best,
Ian



             Ian H. Fisher, Partner
             Litigation
             Direct: 312.836.4043 | Office Ext: 34043
             Taft Office: Chicago


From: Megan O'Malley <momalley@ompc-law.com>
Sent: Tuesday, May 23, 2023 9:14 AM
To: Morrell, Benjamin S. <BMorrell@taftlaw.com>; Alex Raynor <alex.raynor@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Re: Lynch v. CCC - amended privilege log

Counsel:

When we spoke last Wednesday, we fully outlined our position in detail to you over our 1 hour long phone
call. We then told you we needed to get a motion on file, as we agreed during the call that we had already
reached impasse on the entries relating to "personnel changes." We told you we would begin preparing that
motion and get a draft to you. We then got you the draft 2 days later, on Friday at 4:15 p.m. The draft
reiterated the position we had already shared with you both verbally and in writing on April 27. There is no
basis whatsoever for you to suggest that you need twice as much time for your portions as we took for ours,
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particularly given that we are the moving party requesting relief and that you have been well aware of our
position on this discrete issue for quite some time - which issue has been briefed previously between the
parties.

If you are able to get us your portion by today at 6:30 p.m. (which allows you the exact same amount of time
we took to draft the motion, even after removing the weekend days), that will allow us time to review your
portion and make any needed adjustments and still get it on file tomorrow. We will, of course, expect that
you will cooperate tomorrow during business hours in signing off on the final version so that we can get it
filed, as tomorrow is the last day to notice the motion in order to have it heard by Judge Ellis on Tuesday of
next week.

This is both fair and necessary in order to have the Court hear the dispute in a timely fashion. What is not
"fair" is you withholding documents for years, violating a Court order to produce everything (including a log)
by March 31, filing a false affidavit of completeness, and then demanding that we give you twice as much time
as we took to complete your portion to our motion.

If you have your portion to us by 6:30 p.m. today, we can still file it as joint. If you refuse, we will proceed with
a Plaintiff's filing only.

Also, I do need your confirmation that you will produce the "EL Nov1.docx" document by Friday. If you are
refusing to produce this document, which should have been produced in 2021, we will additionally move for
discovery sanctions. I tried contacting you by telephone, but you were not available and I left a message
inviting you to call me back. Pursuant to Local Rule 37.2, we request that you please confirm - by 6:30 p.m.
today - that you will comply with your long overdue obligation to produce this evidence.

Thank you,

Megan O'Malley
O'Malley & Madden, P.C.
542 S. Dearborn St., Ste. 660
Chicago, Illinois 60605
phone: 312.697.1382
facsimile: 312.697.1384

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From: Megan O'Malley <momalley@ompc-law.com>
Sent: Monday, May 22, 2023 6:45 PM
To: Morrell, Benjamin S. <BMorrell@taftlaw.com>; Alex Raynor <alex.raynor@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Re: Lynch v. CCC - amended privilege log

Ben,


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We revised one paragraph and one footnote. The other revisions were tense changes and the like. The only
reason we had to revise anything is because it took you nearly a month to give us an amended log (after the
initial log was already served belatedly, nearly 3 weeks after you were ordered to provide it). Had you
complied with the Court's deadline of March 31, we could have had a 37.2 conference about the log and those
entries the first week of April, but you didn't. You are the cause of the delay in getting this issue before the
Court.

Thursday is unacceptable. Judge Ellis is not hearing motions the entire month of June, and so it seems will
either be off the bench or tied up in a trial. We need to get this before her as she needs to still rule on the in
camera documents she has had since February, and she may also wish to review the entries from this new
motion in camera and will need to for that as well. We will not be jammed up by you in preparing for Janine
Janosky's deposition. It is already unacceptable that you are still withholding highly relevant documents in the
matter, which - as requested in my earlier email - we expect to be served no later than Friday. Why wasn't the
EL Nov1.docx document produced with your initial production back in 2021? This is a centrally relevant
document that didn't need an ESI search in order for you/your client to discover, as Ms. Panomitros and Ms.
Janosky are fully aware that they prepared these documents in their initial attempts to fire my clients. Frankly,
it seems that both Ms. Panomitros and Ms. Janosky are committing misconduct by not providing their counsel
with documents they know full well are centrally relevant to this matter. This is sanctionable conduct. Perhaps
it is Taft who is withholding the documents? We have been very gracious in providing you with the benefit of
the doubt, but your continued refusals of cooperation do not suggest that the continued revelations of
withheld documents were oversights by either you or your client.

The current motion we intend to file is not a complicated motion and you have known our core position since
April 26, which we put in writing (with legal authority) on April 27. Moreover, we have briefed this exact same
issue in the prior motion. Your continued delays are not acceptable.

We will file the motion as a Plaintiff's motion and note that we gave you the opportunity to participate.

Megan O'Malley
O'Malley & Madden, P.C.
542 S. Dearborn St., Ste. 660
Chicago, Illinois 60605
phone: 312.697.1382
facsimile: 312.697.1384

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From: Morrell, Benjamin S. <BMorrell@taftlaw.com>
Sent: Monday, May 22, 2023 6:23 PM
To: Megan O'Malley <momalley@ompc-law.com>; Alex Raynor <alex.raynor@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: RE: Lynch v. CCC - amended privilege log

Megan,

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We agree that the parties are now at issue under Local Rule 37.2 regarding the revised list of privilege log
entries Alex sent to us earlier this afternoon. We also agree we will need to provide Defendant’s portion
of the joint brief. But, your proposed deadline of noon tomorrow is neither realistic nor fair.

At nearly the close of business on Friday afternoon, we first received a 9-page document containing
Plaintiffs’ side of the draft joint motion with your request that we provide Defendant’s portion of the brief
in less than two business days. And, we received a revised draft of Plaintiffs’ side of the motion just a
couple hours ago (in response to the amended privilege log we sent to you late Friday). It is unreasonable
to expect us to draft a response before the parties were fully at issue and while you were still revising
Plaintiffs’ draft of the motion. And, fair or not, we need more time to do so than the 21 hours you have
proposed.

We will plan to send over our portion of the joint motion on Thursday. We think this is a reasonable
amount of time to respond to Plaintiffs’ arguments.


From: Megan O'Malley <momalley@ompc-law.com>
Sent: Monday, May 22, 2023 2:44 PM
To: Alex Raynor <alex.raynor@ompc-law.com>; Morrell, Benjamin S. <BMorrell@taftlaw.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Re: Lynch v. CCC - amended privilege log

Attached is the updated version in both Word (clean) and a pdf version that shows the tracked changes for
your convenience. You will see that the very few substantive changes are almost entirely within one
paragraph and in the footnote on page 6. Please insert Defendant's response positions into this version.

Thank you,

Megan O'Malley
O'Malley & Madden, P.C.
542 S. Dearborn St., Ste. 660
Chicago, Illinois 60605
phone: 312.697.1382
facsimile: 312.697.1384

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From: Alex Raynor <alex.raynor@ompc-law.com>
Sent: Monday, May 22, 2023 12:29 PM
To: Morrell, Benjamin S. <BMorrell@taftlaw.com>; Megan O'Malley <momalley@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Re: Lynch v. CCC - amended privilege log

Counsel,


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Thank you for sending us your amended log. As this was sent after hours on Friday, we have just now had an
opportunity to review the entries we reference in our motion to compel. Based on your changes, we will agree
to withdraw our motion as to Entries 94, 113-115, and 117-121. We intend to send you updated language for
the background portion of our motion to account for this change. That said, we will continue to move on
Entries 95-98, 105, 107-110, 116, 123, and 183 as we do not believe these are privileged, even with your
amendments. Since there are no significant changes to the motion, we still expect to receive your portion by
noon tomorrow so that we can get this before the court as soon as possible.

Best,
Alex

From: Morrell, Benjamin S. <BMorrell@taftlaw.com>
Sent: Friday, May 19, 2023 6:11 PM
To: Megan O'Malley <momalley@ompc-law.com>; Alex Raynor <alex.raynor@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Lynch v. CCC - amended privilege log

Counsel,

Attached please find CCC’s amended ESI privilege log. Please let us know if you have any questions or
would like to discuss.

Thanks,

Ben


              Benjamin S. Morrell
              Attorney
              BMorrell@taftlaw.com
              Dir: 312.840.4489
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